






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



ALFREDO MORENO AND FRANCES
MORENO, INDIVIDUALLY AND AS
HEIRS AND REPRESENTATIVES OF
THE ESTATE OF BERNADETTE
MORENO, DECEASED,


                            Appellants,


v.


ADOLFO PALOMINO-HERNANDEZ,
M.D.,


                            Appellee.
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                 No. 08-07-00010-CV	


Appeal from the


120th District Court


of El Paso County, Texas


(TC#2005-2771)






O P I N I O N


	Appellants, Alfredo and Frances Moreno, Individually and as Heirs and Representatives of
the Estate of Bernadette Moreno, Deceased, appeal the trial court's dismissal of their claims against
Appellee, Adolfo Palomino-Hernandez, M.D. ("Dr. Palomino"), and the trial court's award of
attorney's fees to Dr. Palomino.  We reverse the trial court's ruling and remand for trial.

I.  BACKGROUND


	This is a medical malpractice case with a convoluted history.  On August 28, 2003, the
Morenos filed a lawsuit under former article 4590i, (1) styled Alfredo Moreno and Frances Moreno,
Individually and as Heirs and Representatives of the Estate of Bernadette Moreno, Deceased v.
Edward C. Juarez, M.D., Individually, Edward C. Juarez, M.D., P.A. d/b/a Eastside Medical Care
Center, Roy Malphurs, Joseph A. Quintana, Jr., M.D., Joseph A. Quintana, Jr., M.D., P.A. d/b/a
Cardiology Care Consultants, Adolfo Palomino-Hernandez, M.D. and El Paso Healthcare System,
Ltd. d/b/a Del Sol Medical Center, Cause No. 2003-3728, in the 120th District Court of El Paso
County (the "2003 Lawsuit").  The Morenos furnished an expert report by Charles F. Landers, M.D.
(the "Landers Report").  Dr. Palomino filed a motion to dismiss the Landers Report, which was
denied by the trial court.

	On April 18, 2005, the Morenos nonsuited the 2003 Lawsuit.  A week later, they filed this
action, pursuant to chapter 74 of the Texas Civil Practice and Remedies Code.  Dr. Palomino was
named as one of the defendants in the Appellants' Original Petition herein.  On June 15, 2005, the
Appellants filed their First Amended Original Petition, which did not name Dr. Palomino as a
defendant.  Dr. Palomino was likewise not named in their Second Amended Original Petition, which
was filed on July 12, 2005.

	On January 19, 2006, the trial court entered an Agreed Scheduling Order and Discovery
Control Plan.  The Scheduling Order set the trial date as beginning on April 7, 2006.  The Scheduling
Order also provided that "[t]he deadline to join additional parties has passed."  On January 30, 2006,
Dr. Quintana filed a motion for leave to designate Dr. Palomino as a responsible third party.  The
next day, the Appellants filed their Third Amended Original Petition.  Once again, the newly-amended petition did not name Dr. Palomino.  The trial court granted Dr. Quintana's motion for
leave on February 22.

	On March 21, the Appellants filed their Fourth Amended Original Petition, in which they did
once again name Dr. Palomino as a defendant. (2)  The Appellants re-served the Landers Report,
without change from its original form, on Dr. Palomino on July 5, 2006.  Dr. Palomino moved to
dismiss, asserting that the Appellants failed to timely join him and failed to serve their expert report. 
The trial court granted the motion and awarded attorney's fees to Dr. Palomino.  The Appellants
contend that the trial court erred in doing so.

II.  DISCUSSION


A.  Dismissal of the Claim Against Dr. Palomino


	The dismissal of a health-care liability claim is generally reviewed under an abuse of
discretion standard.  American Transitional Care Ctrs., Inc. v. Palacios, 46 S.W.3d 873, 877 (Tex.
2001); Ponce v. El Paso Healthcare Sys., Ltd., 55 S.W.3d 34, 36 (Tex. App.--El Paso 2001, pet.
denied).  However, to the extent that the issue involves statutory construction, we apply a de novo
standard of review.  Ponce, 55 S.W.3d at 36; NCED Mental Health, Inc. v. Kidd, 214 S.W.3d 28,
32 (Tex. App.--El Paso 2006, no pet.).

	Because the 2003 Lawsuit was filed prior to September 1, 2003, it was subject to the
provisions of former article 4590i, section 13.01. (3)   It is undisputed that the Appellants had timely
served the Landers Report on Dr. Palomino in the 2003 Lawsuit.

	Because the current action was filed after September 1, 2003, their claims are now governed
by chapter 74 of the Texas Civil Practice and Remedies Code.  Section 74.351(a) currently provides:

	(a)  In a health care liability claim, a claimant shall, not later than the 120th day after
the date the original petition was filed, serve on each party or the party's attorney one
or more expert reports, with a curriculum vitae of each expert listed in the report for
each physician or health care provider against whom a liability claim is asserted.  The
date for serving the report may be extended by written agreement of the affected
parties.  Each defendant physician or health care provider whose conduct is
implicated in a report must file and serve any objection to the sufficiency of the
report not later than the 21st day after the date it was served, failing which all
objections are waived.


Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351(a).


	The Appellants argue first that section 33.004(e) of the Civil Practice and Remedies Code
permitted their joinder of Dr. Palomino, following his designation as a responsible third party by Dr.
Quintana.  Section 33.004(a) allows for the designation of responsible third parties.  Subsections (a)
and (e) provide:

	(a)  A defendant may seek to designate a person as a responsible third party by filing
a motion for leave to designate that person as a responsible third party.  The motion
must be filed on or before the 60th day before the trial date unless the court finds
good cause to allow the motion to be filed at a later date.


.    .    .


	(e)  If a person is designated under this section as a responsible third party, a claimant
is not barred by limitations from seeking to join that person, even though such
joinder would otherwise be barred by limitations, if the claimant seeks to join that
person not later than 60 days after that person is designated as a responsible third
party.


Tex. Civ. Prac. &amp; Rem. Code Ann. § 33.004(a), (e).

	Appellants contend that the language of the statute and its legislative history indicate that it
applies to this case, and they cite us to the following exchange between Senators Hinojosa and
Ratliff:

	SENATOR HINOJOSA:  When a defendant names a responsible third party, as I
understand it, the plaintiff has 60 days to bring the third party into the suit, even if
limitations would otherwise have run against that person.  Is that true in a medical
malpractice claim too, because on page 63 of the bill it seems to say that the two-year
statute in those cases applies notwithstanding any other law?


	SENATOR RATLIFF:  Yes, if health care providers are going to have the benefit of
the designation of responsible third parties, then they have to abide by the same rules
as everyone else.  This 60-day provision would apply in health care liability claims.


S. Conf. Comm. Rep. on H.B. 4, S.J. of Tex., 78th Leg., R.S. 5005 (2003).

	By its terms, however, subsection (e) applies only to "limitations."  The above exchange does
not indicate a specific legislative intent to apply this provision to the 120-day requirement set out
in section 74.351.  Moreover, to the extent that there is a conflict between the two statutes, section
74.002(a) provides that "[i]n the event of a conflict between this chapter and another law, including
a rule of procedure or evidence or court rule, this chapter controls to the extent of the conflict."  Tex.
Civ. Prac. &amp; Rem. Code Ann. § 74.002(a).  Section 74.351 does not expressly address the
timeliness of the required expert report in this case.

	The Appellants also argue that the report was, in any case, timely filed.  Dr. Palomino 
responds that the refiling of a health-care liability claim does not restart the 120-day time period
contained in section 74.351(a).  He relies on Mokkala v. Mead, 178 S.W.3d 66 (Tex. App.--Houston
[14th District] 2005, pet. denied).  In Mokkala, the Meads filed a health-care liability claim under
chapter 74.  Id. at 68.  They served their required expert's report and his curriculum vitae 121 and
122, respectively, days after filing their original petition.  The Meads then nonsuited their claims
against the appellants and, a few days later, amended their petition and again named the appellants. 
Id. at 68-69.

	The Meads again nonsuited their claims against the appellants, and, this time, they filed a
new action against them, asserting the same claims.  The appellants moved to dismiss the Meads'
claims with prejudice for failing to timely serve their expert's report and curriculum vitae, and the
trial court denied the motion.  Id.  On appeal, the Meads asserted that they had an absolute right to
nonsuit under Texas Rule of Civil Procedure 162, and that, by nonsuiting their claims, they were
placed in the same position they would have been had they not brought the initial lawsuit.  Id. at 70.

	The Fourteenth Court of Appeals disagreed.  It looked to the language of the statute and noted
that section 74.351(a) refers a to health-care liability claim, not a lawsuit.  The court concluded that
"under the plain language of section 74.351(a), the 120-day period is triggered on the date the
claimant files a petition alleging a particular health care liability claim, not the date she files another
lawsuit asserting that same claim."  Id. at 71.

	The court also concluded that section 74.351(a) did not conflict with Rule 162.  Id. at 73. 
It reasoned that, in enacting that section, the Legislature removed provisions under former article
4590i that permitted a plaintiff to nonsuit an action, if he failed to furnish an expert report within the
required time.  The court noted that, under section 74.351(a), the only means for a plaintiff to extend
the 120-day deadline for serving an expert report is by agreement of the affected parties.  Id. at 76. 
The court concluded that "[a]llowing a plaintiff to restart the period for serving an expert report by
simply nonsuiting her health care liability claim and refiling that same claim, could effectively
expand the 120-day period to well over two years.  Such a procedure is inconsistent with the policies
. . . set forth above."  Id. (statutory citations omitted); see also Daughtery v. Schiessler, 229 S.W.3d
773, 775 (Tex. App.--Eastland 2007, no pet.) (holding that a nonsuit within 120 days of filing claim
did not extinguish the running of the 120-day limitation period ).

	Relying on Park v. Lynch, 194 S.W.3d 95 (Tex. App.--Dallas 2006, no pet.), the Appellants
contend that Mokkala does not establish that the 120-day period began to run, because the version
of section 74.351(a) in effect for a cause of action accruing before September 1, 2005, contains
language that it only applies to "an action" filed on or after the effective date. (4)  The plaintiffs in Park
originally filed a medical malpractice lawsuit in Denton County under former article 4590i.  Id. at
96.  After the deadline for the filing of their expert reports, the plaintiffs filed a motion for nonsuit
without prejudice, which was granted by the court.  Id. at 97.  On the same day they filed their
motion for nonsuit, the plaintiffs then filed an action under chapter 74 in Dallas County.  The
plaintiffs filed their expert report within 120 days of the date they filed the second lawsuit.  The
defendants moved to dismiss, arguing that the plaintiffs failed to timely file their expert report,
because the 120-day time period began to run when they filed their initial lawsuit in Denton County.
The trial court denied the motion, and the court of appeals affirmed.  Id. at 100-01.  The court
explained that, in adopting the 2003 version of section 74.351, the Legislature specified that the
section applies "only to an action filed on or after the effective date" of September 1, 2003.  Id. at
99.  The Legislature further provided that "[a]n action filed before the effective date of this Act,
including an action filed before that date in which a party is joined or designated after that date, is
governed by the law in effect immediately before the change in law made by this Act . . . ."  Id.
(citing Act of June 2, 2003, 78th Leg., R.S., ch. 204, §§ 1.03, 23.02(a), (d), 2003 Tex. Gen. Laws
847, 849, 864, 898-99).  The appellants argued that section 74.351 applied to a health-care liability
claim, as opposed to a lawsuit, and triggered the 120-day time period, because the claims in both
lawsuits were the same.  Id. at 100.  The court disagreed and concluded that the deadline for filing
expert reports in the Dallas lawsuit was 120 days from the date that lawsuit was filed.  Id. at 100-01.

	We agree with Park to the extent it is applicable to the present case.  The 120-day deadline
did not begin to run with the filing of the 2003 Lawsuit.  However, Dr. Palomino does not argue that
the 120-day deadline began to run when the 2003 Lawsuit was filed, but that it began to run when
the 2005 Lawsuit, in which he was originally named as a defendant, was filed.  Nonsuit of the
Appellants' claims against him in the 2005 Lawsuit did not toll the running of the 120-day
limitations period.  See Mokkala, 178 S.W.3d at 76.  This lawsuit was filed on April 25, 2005; if the
Appellants were forced to rely solely upon their July 2006, filing of their expert's report, we would
agree with Dr. Palomino.

	In this unique fact pattern, however, the Morenos did timely serve the Landers Report on Dr.
Palomino in the 2003 Lawsuit.  This report was the same report that was, eventually, re-served in
the present suit.  Dr. Palomino challenged the report during the 2003 Lawsuit, and the trial court
ruled at that time that the report was sufficient.  The Appellants argue that the report meets the
requirements of section 74.351.  Dr. Palomino does not address the report's adequacy under section
74.351, but contends that the report's adequacy is irrelevant, because it was not timely served in the
present case.

	In University of Tex. Health Science Ctr. at San Antonio v. Ripley, 230 S.W.3d 419, 420
(Tex. App.--San Antonio 2007, no pet.), the plaintiffs, as representatives of the decedent's estate,
brought an action against the University of Texas Health Science Center (the "Hospital") in federal
court for allegedly negligent acts that resulted in decedent's death, following bypass surgery.  During
the course of the federal action, the plaintiffs filed an expert report and a curriculum vitae.  Pursuant
to the court's scheduling order, the Hospital was required to file any objections to the proposed
expert testimony within thirty days of its submission.  The Hospital did not object to the report.  The
federal court did, however, subsequently grant the Hospital's motion to dismiss, based on Eleventh
Amendment immunity.

	Thereafter, the plaintiffs brought an action in state court under section 74.351.  Id. at 420-21. 
The plaintiffs did not serve an expert's report or curriculum vitae within 120 days, and the Hospital
moved to dismiss the claims.  The trial court denied the motion, and the San Antonio Court of
Appeals affirmed.  The appellate court noted that section 74.351(a) required that the report be served
not later than the 120th day after the date the claim was filed.  Id. at 421.  The court reasoned that,
although the expert report had been served prior to the filing of the section 74.351 claim, the
plaintiffs satisfied the statute by having served the expert report prior to the passage of 120 days from
the date of the claim.  Id. at 422-23.

	As in Ripley, the Morenos in this case timely filed their report in the prior action.  They then
re-served the report following Dr. Palomino's designation as a responsible third party.  We hold that
the Appellants, having once served the report (albeit during the pendency of the 2003 Lawsuit), met
the technical requirements of the statute. (5)  We sustain the Appellants' second issue.

B.  Dismissal Based on Violation of the Scheduling Order


	We review a trial court's enforcement of a scheduling order under an abuse of discretion
standard.  Roskey v. Continental Cas. Co., 190 S.W.3d 875, 879 (Tex. App.--Dallas 2006, pet.
denied).  A trial court abuses its discretion when its action is arbitrary or unreasonable or without
any reference to any guiding rules or principles.  Housing Auth. of City of El Paso v. Guerra, 963
S.W.2d 946, 952-53 (Tex. App.--El Paso 1998, pet. denied).  In this case, the scheduling order was
entered on January 19, 2006.  It provided that "[t]he deadline to join additional parties has passed." 
On January 30, Dr. Quintana filed his motion for leave to designate Dr. Palomino as a responsible
third party.  The Appellants filed objections to the motion for leave on February 22; on the same day,
the trial court, notwithstanding the language of the Agreed Scheduling Order, granted the motion for
leave to designate.  Pursuant to the scheduling order, the deadline to file dispositive motions was
February 27 and the deadline to amend pleadings was March 17.  The Appellants filed their Fourth
Amended Original Petition on March 21, adding Dr. Palomino to the lawsuit.

	Section 33.004 of the Civil Practice and Remedies Code provides that, if a responsible third
party is designated, a claimant is not barred by limitations from seeking to join that person, even
though joinder would otherwise be barred by limitations, if joinder is sought not later than 60 days
from the date the person is designated.  Tex. Civ. Prac. &amp; Rem. Code Ann. § 33.004(e). 
Considering the limited waiver of the limitations bar contained in section 33.004(e), it is apparent
that the purpose of the statute is to permit a plaintiff to join as a defendant a person designated as a
responsible third party by another defendant.  In this case, Dr. Quintana sought leave to designate
Dr. Palomino as a responsible third party after the date for joinder had passed under the scheduling
order. (6)  While the designation of a responsible third party is not equivalent to the joinder of a party,
the trial court's refusal to allow the joinder of Dr. Palomino, which was apparently based on the
passage of the joinder deadline in the scheduling order, and its subsequent dismissal of the claims
against Dr. Palomino, was an abuse of discretion.  We sustain this issue.

C.  Attorneys' Fees


	In Issue Three, the Appellants appeal the trial court's award of attorneys' fees to Dr.
Palomino.  Because we have determined that the trial court erred in granting Dr. Palomino's motions
to dismiss, we sustain the Appellants' third issue.

III.  CONCLUSION


	We reverse the trial court's ruling dismissing the Appellants' claims and remand for trial.


						KENNETH R. CARR, Justice


October 23, 2008


Before Chew, C.J., McClure, and Carr, JJ.

1.   Medical Liability and Insurance Improvement Act, 65th Leg., R.S., ch. 817, 1977 Tex. Gen. Laws 2039 (as
amended) (former Tex. Rev. Civ. Stat. Ann. art. 4590i, §§ 1.01-16.02), repealed by Act of June 2, 2003, 78th Leg.,
R.S., ch. 204, § 10.09, 2003 Tex. Gen. Laws 847, 884 (effective Sept. 1, 2003).  Many of the provisions of former article
4590i are now codified at Tex. Civ. Prac. &amp; Rem. Code Ann. §§ 74.001-.507 (Vernon 2005 and Vernon Supp. 2008). 
Because the original lawsuit was filed before September 1, 2003, the provisions of former article 4590i applied to it.
2.   On or about April 10 (three days after the trial date designated in the Agreed Scheduling Order), the court
granted summary judgment in favor of Dr. Quintana and Del Sol Medical Center, leaving only Dr. Palomino as a
defendant.
3.   Section 13.01 provided, in pertinent part:


	(d)  Not later than the later of the 180th day after the date on which a health care liability claim is filed
or the last day of any extended period established under Subsection (f) or (h) of this section, the
claimant shall, for each physician or health care provider against whom a claim is asserted:


		(1)  furnish to counsel for each physician or health care provider one or more expert
reports, with a curriculum vitae of each expert listed in the report; or


		(2)  voluntarily nonsuit the action against the physician or health care provider.


.    .    .


	(f)  The court may, for good cause shown after motion and hearing, extend any time period specified
in Subsection (d) of this section for an additional 30 days.  Only one extension may be granted under
this subsection.


.    .    .


	(h)  The affected parties may agree to extend any time period specified in Subsection (a) or (d) of this
section.  An agreement under this subsection is binding and shall be honored by the court if signed by
the affected parties or their counsel and filed with the court.


.    .    .


	(n)  If a claimant nonsuits a health care liability claim against a physician or health care provider
before filing a cost bond and seeks to refile the same or a similar health care liability claim against the
physician or health care provider, the claimant shall file a $7,500 cost bond for each previously
nonsuited physician or health care provider at the time of the filing of the health care liability claim. 
If the claimant fails to file the $7,500 cost bond for each physician or health care provider, on motion
and hearing the court shall order the filing of the cost bond and the claimant shall pay the movant
reasonable attorney's fees incurred in obtaining relief under this subsection.


Act of May 1, 1995, 74th Leg., R.S., ch. 140, § 1, 1995 Tex. Gen. Laws 985, 985-87 (former Tex. Rev. Civ. Stat. Ann.
art. 4590i, § 13.01(d), (f), (h), (n)).
4.   The version in effect from September 1, 2003, though August 31, 2005, was the same, except that, in the first
sentence, "the claim was filed" was substituted for "the original petition was filed."  See Act of June 2, 2003, 78th Leg.,
R.S., ch. 204, § 10.01, 2003 Tex. Gen. Laws 847, 875; Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351(a).
5.   We note also that the 2003 Landers Report served the legislative purposes behind the expert-report
requirement.  Long before the passage of 120 days after the original petition was filed--indeed, well before the petition
was filed--Dr. Palomino had been furnished the report to which he was entitled.  Section 74.351(a) provides that "a
claimant shall, not later than the 120th day after the date the original petition was filed, serve" (emphasis added) a report
and curriculum vitae; nothing in that language precludes service of the report and the curriculum vitae before the petition
is filed.
6.   The court granted Dr. Quintana leave to designate Dr. Palomino as a responsible third party only 44 days prior
to the trial date contained in the Scheduling Order.  Notwithstanding that the deadline to join additional parties had
passed, we find no abuse of discretion in the court's having granted such leave at that time.  However, the effect of the
court's ruling was that, if it had then continued to insist upon the April 7 trial date, the Appellants' motion for leave to
join Dr. Palomino as a defendant would have been timely (for limitations purposes) if filed 16 days after the trial began. 
See Tex. Civ. Prac. &amp; Rem. Code Ann. § 33.004(e).  We do not believe that the Legislature could have intended such
a result.

